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.Amir J. Goldstein, Esq. (SBN 255620)
ajg@consumercounselgroup.com
5455 wilshire Boulevam, sane 1312 mill JRN |5 AH IJg l9
Los Angeles.CA 90036 t _ _-: _t_ 3 :-_,_J__._l m .[
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Attomey for Plaintif’f

UNITED STATES DlSTRlCT COURT

CENTRAL DIS'['RICT OF CAL{FORNIA

PlaintifT,

V.
COMPLAINT FOR DAMAGES
W[NN LAW GROUP, APC and DOES l
through 10 inclusive,

Defendams.

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Plaintiff. by and through his atmrney, Amir J . Goldstein. Esq.. as and for his complaint
against the Defendant WINN LAW GROUP. APC` alleges as follows:

INTRODUCTION
l. This is an action for damages broughz by an individual consumer for the Defendant's
viointions of the Fair Debt Collcction Practiccs Act, lS U.S.C. § 1692 er seq. (“FDCPA“)
and the Rosenthal Fair Debt Collection Practices Act. Califomia Civil Code § 1788, et
seq. (“Rosenthal Act") which prohibits debt collectors from engaging in abusive,

deceptive and unfair practiccs.

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Complaint for Dsmagas

 

 

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PARTI ES
Plaintiff is a natural person residing in Los Angeles County. Califomia.
Upon information and belief, the Def`endant WINN LAW GROUP, APC, is a debt
collector as defined pursuant to lS U.S.C. § 1692a(6) who is incorporated under the laws

of Califomia and located in Fullerton, California.

JURISD!CTION
'I`his Court hasjurisdiction pursuant to 15 U.S.C- § 169th (FDCPA) and 28 U.S.C. §
1331. Venue is proper in this district pursuant to 28 U.S.C. § 139l(c), as the Defendant

resides and regularly conducts business in this district

FIRST CAUSE OF ACTION
Plaintiff realleges paragraphs l through 5 as if fully restated herein.
That a personal debt was allegedly incurred by Plainti{`f to Actors Federal Credit Urtion
(heceinaher referred to as “AFCU“).
'I'hat on or about September 25, 2012. AFCU cancelled and discharged the above-
referenced debt.
'I'hat upon information and belief, in or about 2012. AFCU filed a Form 1099»C with the
IRS with regard to the above-referenced debt.
That at a time tmltnown to Plaintifl` herein. the aforementioned debt was referred and!or
assigned to Defendant WINN LAW GROUP. APC for collection
'I`hat on or about January 25, 2013. Defendant Winn Law Group, on behalf of AFCU,
filed a lawsuit in the Los Angelcs Superior Court. No'rth Valley District against Plaintiff
(case no, 13E00776. hereinafter referred to as the “Collections Lawsuit") to collect on the
above-referenced debt.
That upon information and belief, the Pltu`ntil'f no longer had any legal obligation or
liability on the above-referenced debt at the time the Collections l.awsuit was
commenced

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12. That upon information and belief. Defendant knew or should have known that it could
not prevail on the lawsuit to collect on the discharged debt. yet persisted with legal action
anyway in a deceptive manner in order to confuse. intimidate and coerce Plaintiff into
making a payment on the alleged debt.

13. That on or about April l l , 2013, a default judgment was entered in the amount of
$8,684.08 against Plaintifl` in the Collections Lawsuit.

14. 'I`hat the Defendant Winn Law Group sent Plaintiff a letter dated June 3, 2013, wherein
Defendant agreed to accept a monthly payment of $l 00 from Plaintifl` to pay off the
above-referenced debt.

15. That on or about .lune 21, 2013. Plaintift` contacted Defendant Winn Law Group and
taxed ita copy of the IRS Forrn 1099-C to show that the debt owed to AFCU had been
discharged

16. Tbat Defendant Winn Law Group continued receipt of Plaintil’f`s fax.

17. 'I`hat despite being on notice of Plaintifl"s dispute of the debt and its receipt of the 1099-
C, Defendant unlawfully continued its collection efforts against Plaintiff.

18. That on or about Septernber 2013, Plaintifl` received a Notice of lnvoluntary Lien.

19. That as a result of Defendant’s misrepresentations and deceptive statements, Plaintilf was
led to believe that he was obligated to pay the debt.

20. That Plaintiff was confitsed and became stressed and anxious about the lawsuit, the
judgment and possible wage garnishment

21. Tlmt upon information and belief , the judgment against Plaintifl` is now appearing on
Plaint:ifi`s credit reports

22. That as a result of Defendant’s conduct, Plaintifl"s credit scores and search for gainful
employment have been negatively affected. the Plaintit`t" suffered damage by loss of
eredit, loss of the ability to purchase and benefit from credit and the mental and
emotional pain, anguish. htnniliation1 and embarrassment of credit denials

23. Thal Defendant’s communications contained language demonstrating false, threatening

implications and deceptive misrepresentations in violation ol` 15 U.S.C. §1692e.

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24. That the Defendant‘s communications caused an unnecessary urgency in attempt to
coerce the Plaintif’f to pay the alleged debt.

25. That as a result of Defendant's conduct, Plaintiff suffered actual damages, including, but
not limited to: stress, anxiety. and aggravation

26. Defeudant‘s conduct violates IS U.S.C. 1692 et seq., including but not limited to
subsections (d), (e) and (i`) in that the representations made by the Defendant are
harassing, confusing, misleading, deceptive, threatening and unfair.

i. Defendant violated 15 U.S.C. §l692d by harassing and abusing the Plaintiff;

ii. Defendant violated 15 U.S.C- §l692e by falsely representing the character,
amount, or legal status of the alleged debt. by using false representations and
using deceptive means to collect the alleged dcbt, and by communicating false
credit information;

iii. Defendant violated 15 U.S.C. §1692t` by using unfair andfor unconscionable
means to collect a debt.

27. 'I'hat Defendant, in an attempt to collect a dcbt. engages in a pattern or practice of
communicating with constuners where the representations made by the Defendant are
harassing, confusing, misleading, deceptive and!or unfair.

28. That as per 15 U.S.C. § 1692 et seq. and as a result of the above violations, the Defendant
is liable to Plaintiff for actual and statutory damages in an amount to be determined at the

time of trial but not less that $l ,000.00. plus costs and attomey‘s fees.

AS AND FOR A SECOND CAUSE OF ACTlON ON BEHALF OF PLAIN'I'IFF
29. Plaintif'f realleges paragraphs 1 through 28 as if fully restated herein.
30. 'I'he Rosenthal Fair Debt Collection Practices Act (Rosenthal Act), California Civil Code
§ 1788, et seq., prohibits unfair and deceptive acts and practices in the collection of

consumer debts.

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31. By its acts and practices as hereinabove described, the Defendant has violated the
Rosentl'tal Act as follows, without limitation:

i. Defendant has violated § 1783.10 for taking an action against Plaintiff which is
otherwise prohibited;

ii. By the above-referenced violations of the FDCPA, Dei`endant has violated
§1788.17.

32. Pursuant to § 1788.30 of the Rosenthal Act. Plajntiff is entitled to recover his actual
damages sustained as a result of Defendant‘s violations of the Rosenthal Act. Such
damages include, without limitation, statutory damages, any actual damages sustained,
other resulting monetary losses and damages, and emotional distress suffered by Plaintiff,
which damages are in an amount to be proven at trial.

33. In addition, because the Dcfendant`s violations of the Rosenthal Act were committed
willingly and knowingly_. Plaintiff` is entitled to recover, in addition to his actual damages,
penalties of at least $l ,000'00 as provided for in the Act.

34. Pursuant to § l?SS.BO(c) Rosenthal Act. Plaintifl` is entitled to recover all attomeys' fees,

costs and expenses incurred in the bringing of this action.

WHEREFORE, Plaintif’f respectfully prays that judgment be entered against Defendant in the
amount of:

(a) Statutory damages and actual damages pursuant to 15 U.S.C. § 1692k in an
amount to be determined at the time of trial as to the first cause of action;

(b) Statutory damages and actual damages pursuant to Civil Code §1788.30 er seq., aar
to the second cause of action;

(c) Costs and reasonable attorney‘s fees pursuant to l 5 U.S.C . § 1692k and Civil
Code §1788.30, el seq.;

(d) For such other and further relief as may be just and proper; and

(e) Plaintiff requests trial by jury on all issues so triable.

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Dated: January 14. 2014

 

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M dstein
Attomey l`o Plaintif"l`

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Complalnt for Damages

 

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UNlTED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT 'I'O U'NITED STATES IUDGES

`l`h is case has been assigned to District lodge james V. Selna and the assigned
Magistrate lodge is Arthur Nakazato

The case number on all documents filed with the Court should read as follows:
8:14-€v-00061-]VS(A.N!)

Pursuant to General Order 05-07 of the United $tates District Court for the Central District of
(`.alifornia. the Magislrate lodge has been designated to hear discovery related motions

Al| discovery related motions should be noticed on the calendar of the Magistrate ludge.

Clerlt.. U. S. District Court

lanuary 15. 20l4 BY APEDR()

Date Deputy Clerk

NO'I`ICE TO COUNSEL

st ropy of this notice must be served with the summons and complaint on all defendants ( if a removal action is
`_fileri, a copy of this notice must be served on all plaintijs).

Subsequent documents must be filed at the following location:

[:] Westcrn Division E] Southern Division [:] Eastern I)ivision
3| 2 N. Spring Street, G-B 411 Wesl Fourth St`, Stc 1053 3470 Twe|l'th Strcel. Room 134
Los Angeles, C)'l. 90012 Santa Ana. CA 92701 Rlversidc, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

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